                                            Case 15-72960-wlh                  Doc 90 Filed FORM   1
                                                                                              07/30/19   Entered 07/30/19                                     11:02:21           Desc          Page No:     1
                                                                          INDIVIDUAL ESTATE PROPERTY
                                                                                              Page 1RECORD
                                                                                                     of 6 AND REPORT
                                                                                           ASSET CASES

Case No.:                       15-72960                                                                                                                        Trustee Name:                               Tamara Miles Ogier
Case Name:                      MUELLER, JOCHEN AND MUELLER, MARY                                                                                               Date Filed (f) or Converted (c):            11/30/2015 (f)
For the Period Ending:           06/30/2019                                                                                                                     §341(a) Meeting Date:                       01/05/2016
                                                                                                                                                                Claims Bar Date:                            04/11/2016
                                     1                                                 2                                3                                 4                         5                                            6

                       Asset Description                                          Petition/                   Estimated Net Value                   Property                  Sales/Funds                  Asset Fully Administered (FA)/
                        (Scheduled and                                          Unscheduled                  (Value Determined by                   Abandoned                 Received by                 Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                       Value                            Trustee,                  OA =§ 554(a) abandon.            the Estate
                                                                                                            Less Liens, Exemptions,
                                                                                                               and Other Costs)

Ref. #
1        Lot 3 Sec A Beulah LandsNorth Carolina1 acre                                $17,350.00                               $17,350.00                                                    $0.00                                    $8,000.00
2        Charles Schwab & Co.brokerage account ending                                      $9.00                                    $0.00                                                   $0.00                                           FA
         in 5482
3        household goods and furnishings, including,                                   $2,800.00                                    $0.00                                                   $0.00                                           FA
         butnot limited to, stove, refrigerator,
         washer/dryer,microwave, cooking utencils,
         silverware/flatware,cookware, furniture, tvs,
         phones, yard tools,computers, printers, etc.
4        clothes                                                                        $400.00                                     $0.00                                                   $0.00                                           FA
5        Life Insurance Prudential                                                     $2,008.00                                $2,008.00                                                   $0.00                                           FA
         ending in 7429
         case value $2008
6        Prudential Life Insurance                                                   $29,621.00                                 $8,930.00                                           $12,921.19                                              FA
         2 policies ending in 3149 (cash value at $9,875)
         and 1512 (cash value at $19,746)
7        2006 BMW 525iA90,000 miles                                                    $6,900.00                                    $0.00                OA                                 $0.00                                           FA
8        2012 Honda Civic                                                              $7,700.00                                    $0.00                OA                                 $0.00                                           FA
9        checking account ending in 9177Wells Fargo                                     $800.00                                     $0.00                                                   $0.00                                           FA
10       checking accountEast West Bankending in 1465                                   $400.00                                     $0.00                                                   $0.00                                           FA
11       art                                                                            $500.00                                     $0.00                                                   $0.00                                           FA
12       Hartford Life Insuranceirrevocable trust                                    $13,088.00                                     $0.00                                               $2,118.77                                           FA
13       personal residence5097 Viking WalkMarietta,                                $328,000.00                                     $0.00                OA                                 $0.00                                           FA
         GA 30068


TOTALS (Excluding unknown value)                                                                                                                                                                                Gross Value of Remaining Assets
                                                                                   $409,576.00                                $28,288.00                                                $15,039.96                                   $8,000.00



Major Activities affecting case closing:
 06/30/2019      Trustee has listed property in NC that will likely take substantial time to sell. An interim distribution to creditors has been made of virtually all funds on hand.
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                                                             INDIVIDUAL ESTATE PROPERTY
                                                                                 Page 2RECORD
                                                                                        of 6 AND REPORT
                                                                              ASSET CASES

Case No.:                    15-72960                                                                                               Trustee Name:                           Tamara Miles Ogier
Case Name:                   MUELLER, JOCHEN AND MUELLER, MARY                                                                      Date Filed (f) or Converted (c):        11/30/2015 (f)
For the Period Ending:        06/30/2019                                                                                            §341(a) Meeting Date:                   01/05/2016
                                                                                                                                    Claims Bar Date:                        04/11/2016
                                 1                                   2                            3                           4                        5                                         6

                     Asset Description                            Petition/              Estimated Net Value               Property              Sales/Funds               Asset Fully Administered (FA)/
                      (Scheduled and                            Unscheduled             (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
                 Unscheduled (u) Property)                         Value                       Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                       Less Liens, Exemptions,
                                                                                          and Other Costs)


Initial Projected Date Of Final Report (TFR):   03/30/2017                    Current Projected Date Of Final Report (TFR):       06/30/2020               /s/ TAMARA MILES OGIER
                                                                                                                                                           TAMARA MILES OGIER
                                         Case 15-72960-wlh         Doc 90        Filed 07/30/19 Entered 07/30/19 11:02:21                   Desc
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        15-72960                                                                                Trustee Name:                        Tamara Miles Ogier
Case Name:                      MUELLER, JOCHEN AND MUELLER, MARY                                                       Bank Name:                           Veritex Community Bank
Primary Taxpayer ID #:          **-***5377                                                                              Checking Acct #:                     ******6001
Co-Debtor Taxpayer ID #:        **-***5378                                                                              Account Title:
For Period Beginning:           07/01/2018                                                                              Blanket bond (per case limit):       $42,250,000.00
For Period Ending:              06/30/2019                                                                              Separate bond (if applicable):


     1                2                            3                                                    4                                     5                    6                    7

Transaction      Check /                       Paid to/                      Description of Transaction                  Uniform           Deposit           Disbursement             Balance
   Date           Ref. #                    Received From                                                               Tran Code            $                    $


07/13/2016           (12)   Hartford Life                            turnover of insurance cash value                    1129-000           $2,118.77                    $0.00              $2,118.77
07/28/2016           (6)    Prudential Insurance                     turnover of insurance cash value                    1129-000          $12,921.19                    $0.00           $15,039.96
07/29/2016                  Green Bank                               Bank Service Fee                                    2600-000                 $0.00                  $2.09           $15,037.87
08/31/2016                  Green Bank                               Bank Service Fee                                    2600-000                 $0.00                 $22.92           $15,014.95
09/30/2016                  Green Bank                               Bank Service Fee                                    2600-000                 $0.00                 $25.01           $14,989.94
10/31/2016                  Green Bank                               Bank Service Fee                                    2600-000                 $0.00                 $22.62           $14,967.32
11/30/2016                  Green Bank                               Bank Service Fee                                    2600-000                 $0.00                 $23.37           $14,943.95
12/30/2016                  Green Bank                               Bank Service Fee                                    2600-000                 $0.00                 $24.11           $14,919.84
01/11/2017           1001   International Sureties, Ltd.             Bond Payment                                        2300-000                 $0.00                  $4.78           $14,915.06
01/31/2017                  Green Bank                               Bank Service Fee                                    2600-000                 $0.00                 $24.07           $14,890.99
02/28/2017                  Green Bank                               Bank Service Fee                                    2600-000                 $0.00                 $21.70           $14,869.29
03/31/2017                  Green Bank                               Bank Service Fee                                    2600-000                 $0.00                 $25.54           $14,843.75
04/12/2017           1002   Georgia Department of Revenue            taxes due - see motion doc no 69                    2820-000                 $0.00                $173.00           $14,670.75
04/28/2017                  Green Bank                               Bank Service Fee                                    2600-000                 $0.00                 $21.63           $14,649.12
05/31/2017                  Green Bank                               Bank Service Fee                                    2600-000                 $0.00                 $23.78           $14,625.34
06/30/2017                  Green Bank                               Bank Service Fee                                    2600-000                 $0.00                 $24.36           $14,600.98
07/31/2017                  Green Bank                               Bank Service Fee                                    2600-000                 $0.00                 $22.04           $14,578.94
08/31/2017                  Green Bank                               Bank Service Fee                                    2600-000                 $0.00                 $23.52           $14,555.42
09/29/2017                  Green Bank                               Bank Service Fee                                    2600-000                 $0.00                 $23.48           $14,531.94
10/31/2017                  Green Bank                               Bank Service Fee                                    2600-000                 $0.00                 $22.69           $14,509.25
11/08/2017           1003   Ogier, Rothschild & Rosenfeld, P.C.      Distribution Dividend: 100.00; Claim #: ; Amount    3110-000                 $0.00            $5,089.00                $9,420.25
                                                                     Claimed: 5,089.00; Amount Allowed: 5,089.00;
11/08/2017           1004   Ogier, Rothschild & Rosenfeld, P.C.      Distribution Dividend: 100.00; Claim #: ; Amount    3120-000                 $0.00                 $74.00              $9,346.25
                                                                     Claimed: 74.00; Amount Allowed: 74.00;
11/08/2017           1005   Stonebridge Accounting & Forensics       Distribution Dividend: 100.00; Claim #: ; Amount    3410-000                 $0.00            $3,180.00                $6,166.25
                                                                     Claimed: 3,180.00; Amount Allowed: 3,180.00;

                                                                                                                        SUBTOTALS           $15,039.96            $12,053.71
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                                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                          15-72960                                                                             Trustee Name:                         Tamara Miles Ogier
Case Name:                        MUELLER, JOCHEN AND MUELLER, MARY                                                    Bank Name:                            Veritex Community Bank
Primary Taxpayer ID #:            **-***5377                                                                           Checking Acct #:                      ******6001
Co-Debtor Taxpayer ID #:          **-***5378                                                                           Account Title:
For Period Beginning:             07/01/2018                                                                           Blanket bond (per case limit):        $42,250,000.00
For Period Ending:                06/30/2019                                                                           Separate bond (if applicable):


     1                2                          3                                                  4                                        5                     6                    7

Transaction      Check /                     Paid to/                       Description of Transaction                  Uniform           Deposit            Disbursement             Balance
   Date           Ref. #                  Received From                                                                Tran Code            $                     $


11/08/2017           1006   Stonebridge Accounting & Forensics      Distribution Dividend: 100.00; Claim #: ; Amount    3420-000                 $0.00                   $42.97             $6,123.28
                                                                    Claimed: 42.97; Amount Allowed: 42.97;
11/08/2017           1007   Tamara Miles Ogier                      Trustee Compensation                                2100-000                 $0.00             $2,154.00                $3,969.28
11/08/2017           1008   Tamara Miles Ogier                      Trustee Expenses                                    2200-000                 $0.00                  $848.58             $3,120.70
11/08/2017           1009   IRS                                     Distribution Dividend: 3.13; Claim #: 6; Amount     5800-000                 $0.00             $2,166.87                 $953.83
                                                                    Claimed: 69,331.44; Amount Allowed: 69,331.44;
11/30/2017                  Green Bank                              Bank Service Fee                                    2600-000                 $0.00                    $8.98              $944.85
12/29/2017                  Green Bank                              Bank Service Fee                                    2600-000                 $0.00                    $1.52              $943.33
01/04/2018           1010   International Sureties, Ltd.            Bond Payment 016027955                              2300-000                 $0.00                    $0.34              $942.99
01/31/2018                  Green Bank                              Bank Service Fee                                    2600-000                 $0.00                    $1.52              $941.47
02/28/2018                  Green Bank                              Bank Service Fee                                    2600-000                 $0.00                    $1.37              $940.10
03/30/2018                  Green Bank                              Bank Service Fee                                    2600-000                 $0.00                    $1.56              $938.54
04/30/2018                  Green Bank                              Bank Service Fee                                    2600-000                 $0.00                    $1.41              $937.13
05/31/2018                  Green Bank                              Bank Service Fee                                    2600-000                 $0.00                    $1.51              $935.62
06/29/2018                  Green Bank                              Bank Service Fee                                    2600-000                 $0.00                    $1.50              $934.12
07/31/2018                  Green Bank                              Bank Service Fee                                    2600-000                 $0.00                    $1.45              $932.67
08/31/2018                  Green Bank                              Bank Service Fee                                    2600-000                 $0.00                    $1.65              $931.02
01/04/2019           1011   Liberty Mutual Insurance Company        Bond Payment                                        2300-000                 $0.00                    $0.42              $930.60




                                                                                                                       SUBTOTALS                  $0.00                $5,235.65
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        15-72960                                                                                        Trustee Name:                        Tamara Miles Ogier
Case Name:                      MUELLER, JOCHEN AND MUELLER, MARY                                                               Bank Name:                           Veritex Community Bank
Primary Taxpayer ID #:          **-***5377                                                                                      Checking Acct #:                     ******6001
Co-Debtor Taxpayer ID #:        **-***5378                                                                                      Account Title:
For Period Beginning:           07/01/2018                                                                                      Blanket bond (per case limit):       $42,250,000.00
For Period Ending:              06/30/2019                                                                                      Separate bond (if applicable):


    1                2                          3                                                   4                                                   5                  6                    7

Transaction      Check /                     Paid to/                       Description of Transaction                           Uniform           Deposit           Disbursement             Balance
   Date           Ref. #                  Received From                                                                         Tran Code            $                    $



                                                                                     TOTALS:                                                         $15,039.96                $14,109.36           $930.60
                                                                                         Less: Bank transfers/CDs                                         $0.00                     $0.00
                                                                                     Subtotal                                                        $15,039.96                $14,109.36
                                                                                         Less: Payments to debtors                                        $0.00                     $0.00
                                                                                     Net                                                             $15,039.96                $14,109.36




                     For the period of 07/01/2018 to 06/30/2019                                                For the entire history of the account between 06/14/2016 to 6/30/2019

                     Total Compensable Receipts:                         $0.00                                 Total Compensable Receipts:                                $15,039.96
                     Total Non-Compensable Receipts:                     $0.00                                 Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                       $0.00                                 Total Comp/Non Comp Receipts:                              $15,039.96
                     Total Internal/Transfer Receipts:                   $0.00                                 Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                    $3.52                                 Total Compensable Disbursements:                           $14,109.36
                     Total Non-Compensable Disbursements:                $0.00                                 Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                  $3.52                                 Total Comp/Non Comp Disbursements:                         $14,109.36
                     Total Internal/Transfer Disbursements:              $0.00                                 Total Internal/Transfer Disbursements:                          $0.00
                                         Case 15-72960-wlh         Doc 90        Filed 07/30/19 Entered 07/30/19 11:02:21                        Desc
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        15-72960                                                                                    Trustee Name:                         Tamara Miles Ogier
Case Name:                      MUELLER, JOCHEN AND MUELLER, MARY                                                           Bank Name:                            Veritex Community Bank
Primary Taxpayer ID #:          **-***5377                                                                                  Checking Acct #:                      ******6001
Co-Debtor Taxpayer ID #:        **-***5378                                                                                  Account Title:
For Period Beginning:           07/01/2018                                                                                  Blanket bond (per case limit):        $42,250,000.00
For Period Ending:              06/30/2019                                                                                  Separate bond (if applicable):


    1                2                           3                                                  4                                             5                     6                    7

Transaction      Check /                     Paid to/                       Description of Transaction                        Uniform          Deposit            Disbursement             Balance
   Date           Ref. #                  Received From                                                                      Tran Code           $                     $


                                                                                                                                                                            NET               ACCOUNT
                                                                                     TOTAL - ALL ACCOUNTS                              NET DEPOSITS                    DISBURSE              BALANCES

                                                                                                                                                $15,039.96            $14,109.36                 $930.60




                     For the period of 07/01/2018 to 06/30/2019                                             For the entire history of the account between 06/14/2016 to 6/30/2019

                     Total Compensable Receipts:                         $0.00                           Total Compensable Receipts:                                  $15,039.96
                     Total Non-Compensable Receipts:                     $0.00                           Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                       $0.00                           Total Comp/Non Comp Receipts:                                $15,039.96
                     Total Internal/Transfer Receipts:                   $0.00                           Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                    $3.52                           Total Compensable Disbursements:                             $14,109.36
                     Total Non-Compensable Disbursements:                $0.00                           Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                  $3.52                           Total Comp/Non Comp Disbursements:                           $14,109.36
                     Total Internal/Transfer Disbursements:              $0.00                           Total Internal/Transfer Disbursements:                            $0.00
